
The Court having considered the petition for disciplinary or remedial action filed in the above entitled matter in accordance with Md. Rule 19-721(a)(2) and Md. Rule 19-737, and the responses to the show cause order filed by Bar Counsel and the Respondent, it is this 20th day of April, 2017
ORDERED, by the Court of Appeals of Maryland, that the petition be, and it is hereby granted, and Sean Patrick McMullen is disbarred, effective immediately, from the practice of law in this State subject to further order of this Court; and it is further
ORDERED, that the Clerk of this Court shall forthwith strike the name of Sean Patrick McMullen from the register of attorneys in this Court and shall certify that fact to the Trustees of the Client Protection Fund and the clerks of all judicial tribunals in the State in accordance with Rule 19-761.
